Case 5:07-cr-00017-DCB-FKB   Document 183   Filed 03/05/08   Page 1 of 6
Case 5:07-cr-00017-DCB-FKB   Document 183   Filed 03/05/08   Page 2 of 6
Case 5:07-cr-00017-DCB-FKB   Document 183   Filed 03/05/08   Page 3 of 6
Case 5:07-cr-00017-DCB-FKB   Document 183   Filed 03/05/08   Page 4 of 6
Case 5:07-cr-00017-DCB-FKB   Document 183   Filed 03/05/08   Page 5 of 6
Case 5:07-cr-00017-DCB-FKB   Document 183   Filed 03/05/08   Page 6 of 6
